                Case 5:07-cr-00015-WTM Document 250 Filed 04/17/08 Page 1 of 1


                                                                                 flLED
                                                                           ILS. DISTRICT COURT
                                  IN THE UNITED STATES DISTRiCT COURT              '±: my
                                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                         WAYCROSS DIVISION         fi8I7 P11 1:51,


                                                                         CLERK7< (
                                                                             S .DJST.OFGA.

             UNITED STATES OF AMERICA
                                                                  CASE NO.: CR507-15
                          V.
             JESUS NERI, a/k/a "Arid res Aleman",
             CAROLINA BAZA,
             RAMIRO PADILLA,
             VANCE TAFT,
             CHARLES GRAHAM,
             JIMMY WHITE,
             DELBERT DAVIS,
             BILLY EUGENE SANFORD,
             GREG DOUGLAS,
             ELIAS MAJIA, and
             FELIPE HERNANDEZ


                                                    ORDER


                   The Court has been advised that all motions filed by Jesus Neri have been
             resolved by the parties.
                   Accordingly, all such resolved motions are hereby DISMISSED as moot.
                    SO ORDERED, this        /         of April, 2008.




                                                             NITED STATES MAGISTRATE JUDGE




AO 72A
(Rev. /82)
